      Case: 1:12-cr-00784 Document #: 21 Filed: 10/29/18 Page 1 of 2 PageID #:59



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA                               )
                                                       )
vs.                                                    ) 12 CR 784-1
                                                       ) Judge Pallmeyer
                                                       )
RUFUS BELL                                             )


          MOTION FOR EARLY TERMINATION OF SUPERVISED RELEASE

       Defendant, Rufus Bell (“Bell”), by and through his attorney, James D. Tunick, hereby moves

this Honorable Court for an order terminating the supervised release portion of Bell’s sentence early

and in support states as follows:

       1. Bell was prosecuted in the Eastern District of Wisconsin before Judge Adelamn. He was

           sentenced to 5 years in the Federal Bureau of Prisons along with 3 years of supervised

           release for distributing a controlled substance.

       2. Brooks served his 5 year sentence and was formerly released from his federal sentence

           on January 13, 2017, after spending six months in a halfway house.

       3. Brooks’ probation was subsequently transferred to the Northern District of Illinois,

           where he has always resided, and the case was assigned to this Honorable Court.

       4. Since being on supervised release, Bell has not tested positive for any controlled

           substance, and he has had no contact with law enforcement, nor has there been any

           other violations of his supervised release. He currently resides with his family on the

           South Side of Chicago.

       5. Bell has been supervised by United States Probation Officer Lisa Tarquino who has

           indicated to counsel that Bell has not had any positive drug screens and there have been

           no violations. As a result, US Probation does not oppose the early termination of

           supervised release.
     Case: 1:12-cr-00784 Document #: 21 Filed: 10/29/18 Page 2 of 2 PageID #:60



       6. In light of Bell’s compliance with the terms of his supervised release and excellent

           adjustment to post release life, Bell is requesting, at this time, early termination of his

           supervised release.

       Wherefore, Defendant, Rufus Bell, respectfully requests that this Honorable Court enter an

order terminating his supervised release term at this time.

                                        Respectfully submitted,




                                        /s James D. Tunick




       James D. Tunick
       Law Office of James D. Tunick
       30 N. La Salle St. Suite 2140
       Chicago, Il 60602 Tel. (312)759-7626 Fax (312)580-1839
